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                            EXHIBIT 18
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                                                                            1


       1                    FOOD AND DRUG ADMINISTRATION

       2             CENTER FOR DRUG EVALUATION AND RESEARCH

       3

       4

       5

       6              ANESTHETIC AND ANALGESIC DRUG PRODUCTS

       7                ADVISORY COMMITTEE (AADPAC) MEETING

       8

       9

      10                    Thursday, February 15, 2018

      11                                  Day 2

      12                       8:00 a.m. to 2:56 p.m.

      13

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      15

      16

      17                         FDA White Oak Campus

      18                   Building 31 Conference Center

      19                     10903 New Hampshire Avenue

      20                       Silver Spring, Maryland

      21

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       1                            Meeting Roster

       2     DESIGNATED FEDERAL OFFICER (Non-Voting)

       3     Moon Hee V. Choi, PharmD

       4     Division of Advisory Committee and Consultant

       5     Management

       6     Office of Executive Programs, CDER, FDA

       7

       8     ANESTHETIC AND ANALGESIC DRUG PRODUCTS ADVISORY

       9     COMMITTEE MEMBERS (Voting)

      10     David S. Craig, PharmD

      11     Clinical Pharmacy Specialist

      12     Department of Pharmacy

      13     H. Lee Moffitt Cancer Center and Research Institute

      14     Tampa, Florida

      15

      16     Jeffrey L. Galinkin, MD, FAAP

      17     Professor of Anesthesiology and Pediatrics

      18     University of Colorado, AMC

      19     Medical Safety Officer

      20     CPC Clinical Research

      21     University of Colorado

      22     Aurora, Colorado




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       1     Jennifer G. Higgins, PhD

       2     (Consumer Representative)

       3     Director of Research & Policy

       4     Association of Developmental Disabilities

       5     Providers (ADDP)

       6     Framingham, Massachusetts

       7

       8     Ronald S. Litman, DO

       9     Professor of Anesthesiology & Pediatrics

      10     Perelman School of Medicine

      11     University of Pennsylvania

      12     Attending Anesthesiologist

      13     The Children’s Hospital of Philadelphia

      14     Medical Director, Institute for Safe Medication

      15     Practices

      16     Philadelphia, Pennsylvania

      17

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                                                                            4


       1     Mary Ellen McCann, MD, MPH

       2     (Acting Chairperson)

       3     Associate Professor of Anesthesia

       4     Harvard Medical School

       5     Senior Associate in Anesthesia

       6     Boston Children’s Hospital

       7     Boston, Massachusetts

       8

       9     Abigail B. Shoben, PhD

      10     Associate Professor, Division of Biostatistics

      11     College of Public Health

      12     The Ohio State University

      13     Columbus, Ohio

      14

      15     Kevin L. Zacharoff, MD, FACIP, FACPE, FAAP

      16     Faculty and Clinical Instructor

      17     Pain and Medical Ethics

      18     State University of New York Stony Brook School of

      19     Medicine, Stony Brook, New York

      20     Ethics Committee Chair

      21     St. Catherine of Siena Medical Center

      22     Smithtown, New York




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       1     TEMPORARY MEMBERS (Voting)

       2     Gregory Terman, MD, PhD

       3     Professor, Department of Anesthesiology and

       4     Pain Medicine and the Graduate Program in

       5     Neuroscience

       6     Director, University of Washington Medical Center

       7     Acute Pain Service

       8     University of Washington

       9     Seattle, Washington

      10

      11     Padma Gulur, MD

      12     Professor of Anesthesiology

      13     Vice Chair, Operations

      14     Department of Anesthesiology

      15     Duke University

      16     Durham, North Carolina

      17

      18     Laura D. Porter, MD

      19     (Patient Representative)

      20     Cancer Survivor Independent Patient Advocate

      21     Washington, District of Columbia

      22




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       1     ACTING INDUSTRY REPRESENTATIVE TO THE ANESTHETIC

       2     AND ANALGESIC DRUG PRODUCTS ADVISORY COMMITTEE

       3     (Non-Voting)

       4     Michele Hummel, PhD, RPh

       5     (Acting Industry Representative)

       6     Pharmacist

       7     Moss Rehab Einstein Healthcare Network

       8     Elkins Park, Pennsylvania

       9

      10     FDA PARTICIPANTS (Non-Voting)

      11     Sharon Hertz, MD

      12     Director

      13     Division of Anesthesia, Analgesia and Addiction

      14     Products (DAAAP)

      15     Office of Drug Evaluation II (ODE-II)

      16     Office of New Drugs (OND), CDER, FDA

      17

      18     Rigoberto Roca, MD

      19     Deputy Division Director

      20     DAAAP, ODE-II, OND, CDER, FDA

      21

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       1     Alla Bazini, MD

       2     Medical Officer

       3     DAAAP, ODE-II, OND, CDER, FDA

       4

       5     David Petullo, MS

       6     Statistics Team Leader

       7     Division of Biometrics II

       8     Office of Biostatistics (OB)

       9     Office of Translational Sciences (OTS)

      10     CDER, FDA

      11

      12     Yun Xu, PhD

      13     Clinical Pharmacology Team Leader

      14     Division of Clinical Pharmacology II

      15     Office of Clinical Pharmacology (OCP)

      16     OTS, CDER, FDA

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       1                            C O N T E N T S

       2     AGENDA ITEM                                              PAGE

       3     Call to Order and Introduction of Committee

       4           Mary Ellen McCann, MD, MPH                            10

       5     Conflict of Interest Statement

       6           Moon Hee Choi, PharmD                                 14

       7     FDA Introductory Remarks

       8           Sharon Hertz, MD                                      18

       9     FDA Presentations

      10     Assessment of Efficacy Data of Studies

      11     Submitted in Support of sNDA

      12           Alla Bazini, MD                                       20

      13     Statistical Review of EXPAREL Efficacy

      14     From Nerve-Block Studies

      15           Katherine Meaker, MS                                  37

      16           Alla Bazini, MD                                       48

      17     Pharmacokinetics (PK) of EXPAREL from

      18     Infiltration and Nerve-Block Studies

      19           Suresh Naraharisetti, DVM, PhD                        61

      20     Assessment of Safety Data of Studies

      21     Submitted in Support of sNDA

      22           Alla Bazini, MD                                       77




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        1                    C O N T E N T S (continued)

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        5     Charge to the Committee

        6           Sharon Hertz, MD                                    197

        7     Questions to the Committee and Discussion                 198

        8     Adjournment                                               260

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        1     going on out there already, to take this and try

        2     and figure out what blocks this is helpful for and

        3     worth the money, frankly.

        4              DR. McCANN:     Are there any more comments on

        5     question number 1?

        6              (No response.)

        7              DR. McCANN:     My task is to summarize a

        8     question that's been all over the map here.            The

        9     question is what efficacy data are necessary to

       10     adequately evaluate the benefit of EXPAREL for

       11     nerve block?     Discuss whether active comparator

       12     arms should be included in future efficacy studies

       13     of EXPAREL.     I think the majority of the committee

       14     felt that it would be preferable to include a

       15     comparator arm but not absolutely necessary.

       16              For the second part, discuss any

       17     circumstances where placebo-controlled studies

       18     alone are adequate to evaluate the efficacy of

       19     EXPAREL, Dr. Zacharoff commented that it's almost

       20     impossible to do in post-surgical patients,

       21     patients that are having pain, but others pointed

       22     out that as long as you demonstrate efficacy,




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